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                                   Notice of Chapter 13 Bankruptcy Case
                            United States Bankruptcy Court Southern District of Mississippi

Information to identify the case:
Debtor 1              Roshelle Anice Coleman                                                     Social Security number or ITIN    xxx−xx−4532

                      First Name   Middle Name    Last Name                                      EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name    Last Name
                                                                                                 EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court for the Southern District of Mississippi
Case number: 23−02098−JAW                                                                        Date case filed for chapter 13    9/13/23



For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.
Cell Phones and other electronic devices are generally not allowed in the courthouses of this District. For more information visit
www.mssb.uscourts.gov

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers,
which may appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                            About Debtor 1:                                                  About Debtor 2:
1. Debtor's full name                       Roshelle Anice Coleman

2. All other names used in the
   last 8 years
                                            4484 Scotland Rd
3. Address                                  Bentonia, MS 39040

4. Debtor's attorney                        Thomas Carl Rollins Jr                                          Contact phone 601−500−5533
     Name and address                       The Rollins Law Firm, PLLC                                      Email trollins@therollinsfirm.com
                                            PO BOX 13767
                                            Jackson, MS 39236

5. Bankruptcy trustee                       David Culver Rawlings                                           Contact phone 601−981−9100
     Name and address                       David C. Rawlings                                               Email dcrjax@dcrch13.net
                                            P.O. Box 31980
                                            Jackson, MS 39286−1980

6. Bankruptcy clerk's office                   Thad Cochran U.S. Courthouse                                  Office Hours:
     Documents in this case may be filed 501 E. Court Street                                                 Monday − Friday 8:00 AM − 5:00 PM
     at this address. You may inspect all Suite 2.300                                                        Contact phone 601−608−4600
     records filed in this case at this office Jackson, MS 39201
     or online at www.pacer.uscourts.gov.                                                                    Date: 9/14/23

                                                                                                                  For more information, see page 2

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Debtor Roshelle Anice Coleman                                                                                                    Case number 23−02098−JAW

7. Meeting of creditors                   October 10, 2023 at 09:30 AM                                      Trustee: David Culver Rawlings
   Debtors must attend the meeting to The meeting may be continued or adjourned to a later date.            Zoom video meeting.
   be questioned under oath. In a joint If so, the date will be on the court docket.                        Go to zoom.us/join, enter
   case, both spouses must attend.                                                                          Meeting ID 431 357 5185 and
   Creditors may attend, but are not                                                                        Passcode 8402453787 , OR call
   required to do so.                                                                                       769−267−0361.

                                                                                                            For additional meeting information go to
                                                                                                            www.justice.gov/ust/moc


8. Deadlines                              Deadline to file a complaint to challenge                                Filing deadline: 12/11/23
   The bankruptcy clerk's office must     dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                             You must file:
                                          • a motion if you assert that the debtors are
                                            not entitled to receive a discharge under
                                            U.S.C. § 1328(f) or
                                          • a complaint if you want to have a particular
                                            debt excepted from discharge under
                                            11 U.S.C. § 523(a)(2) or (4).
                                          Deadline for all creditors to file a proof of claim:                     Filing deadline: 11/22/23
                                          (except governmental units)
                                          Deadline for governmental units to file a proof of                       Filing deadline: 3/11/24
                                          claim:


                                          Deadlines for filing proof of claim:
                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                          www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                          not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                          that the debtor filed.
                                          Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                          claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                          For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                          including the right to a jury trial.


                                          Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                          The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                          believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                          may file an objection.

9. Filing of plan                         Miss. Bankr. L.R. 3015−1(d) requires the debtor to serve a copy of the plan and related notice on the Trustee,
                                          the US Trustee, and all creditors. The plan may contain a motion for valuation of security and/or a motion to
                                          avoid lien. Any objection to the plan or to any motion contained therein shall be in writing and filed with the Clerk
                                          of Court on or before November 6, 2023. Objections will be heard on November 13, 2023 at 10:00 AM in the
                                          Thad Cochran U.S. Courthouse, Bankruptcy Courtroom 4C, 501 East Court Street, Jackson, MS 39201, unless
                                          otherwise ordered by the court. If no objection is timely filed, the plan may be confirmed without a hearing.

10. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                               extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                          any questions about your rights in this case.
11. Filing a chapter 13                   Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                       according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                          plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                          the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                          debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                          court orders otherwise.
12. Exempt property                       The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                          distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                          exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.uscourts.gov. If you
                                          believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                          deadline.
13. Discharge of debts                    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                          However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                          are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                          as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                          523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                          If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                          you must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                          exemptions in line 8.




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